Case 2:22-cv-00232-JRG Document 1-2 Filed 06/24/22 Page 1 of 4 PageID #: 21




         EXHIBIT B
5/12/22, 3:05 PM                     Case 2:22-cv-00232-JRG Document 1-2 Sevice
                                                                          Filed   06/24/22
                                                                                Footprints       Page 2 of 4 PageID #: 22
                                                                                           - COSMX


                                          About Us     EV & ESS       Consumer Application   RD & Innovation   News Center   Join Us   Service & Support
                                                                                                                                                              EN   CN




                   Service & Support




www.cosmx.com/html/en/html/servicessupport/customersupport/network/                                                                                                      1/3
5/12/22, 3:05 PM                      Case 2:22-cv-00232-JRG Document 1-2 Sevice
                                                                           Filed   06/24/22
                                                                                 Footprints       Page 3 of 4 PageID #: 23
                                                                                            - COSMX


                                          About Us        EV & ESS    Consumer Application   RD & Innovation   News Center   Join Us   Service & Support
                   Customer Support     Download Center                                                                      Home > Service & Support > Customer Support
                                                                                                                                                                     > Sevice
                                                                                                                                                                         EN CN

                                                                                                                                                                       Footprints




                                                                      COSMX Sevice Footprints




                                                                                                                                                    Website Map |   Legal Statement |   Contact Us


www.cosmx.com/html/en/html/servicessupport/customersupport/network/                                                                                                                                  2/3
5/12/22, 3:05 PM                     Case 2:22-cv-00232-JRG Document 1-2 Sevice
                                                                          Filed   06/24/22
                                                                                Footprints       Page 4 of 4 PageID #: 24
                                                                                           - COSMX




     About Us                 EV & ESS          Consumer Application       RD & Innovation                        News Center          Join Us              Service & Support


     About Us                 PACK              Mobile Phone Battery       Foundamental & Advanced Technology     COSMX News           Campus Recruitment   Customer Support

     COSMX Culture            CELL              Laptop Battery             Platform & Product Development         Corporate Bulletin   Social Recruitment   Download Center

     Social Responsibility                      Mini Battery               Test Center

     Contact Us                                 Other Batteries            MRD


                                                                                                                                                                               

                                                                                                                                                               Headquarter Telephone

                                                                                                                                                                 0756-6321999

                                                                                                                                                                       Service Hours

                                                                                                                                                                       7*24 hours



                                         Zhuhai CosMX Battery Co., Ltd. Copyright reserved ICP Filing: 粤ICP备13029318号   粤公网安备 44040302000310号




www.cosmx.com/html/en/html/servicessupport/customersupport/network/                                                                                                                    3/3
